918 F.2d 173Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rudolph LEE, Plaintiff-Appellant,v.Kurt FOX, M.D., Defendant-Appellee,andE.C. Morris, Deputy Director, Virginia Department ofCorrections, W.P. Rogers, Regional Administrator, VirginiaDepartment of Corrections, Larry Huffman, Warden, AugustaCorrectional Center, Defendants.
    No. 90-6386.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 14, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (CA-90-178)
      Rudolph Lee, appellant pro se.
      Edward Meade Macon, McGuire, Woods, Battle &amp; Boothe, Richmond, Va., for appellee.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rudolph Lee appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lee v. Fox, CA-90-178 (W.D.Va. July 30, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    